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 Fill in this information to identify the case:
 Debtor name Summit Restaurant Holdings, LLC
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 2640 VERNON, LLC                                                                                                                                                $39,514.00
 28 N 3RD ST #A511
 ALHAMBRA, CO
 91801
 BBBillings, LLC                                                                                                                                                 $39,463.00
 1494 Vistazo W
 Tiburon, CA 94920
 Ehrhardt Family,                                                                                                                                                $57,752.00
 LLLP
 C/O Spike Ehrhardt
 #2 Melgrove
 Hannibal, MO 63401
 GRD FAMILY                                                                                                                                                      $57,527.00
 PROPERTIES, INC.
 501 EAST SUNNY
 HILLS
 FULLERTON, CA
 92835
 HARDEE'S FOOD                                                                                                                                                   $92,037.00
 SYSTEMS
 PO Box 841237
 Los Angeles, CA
 90084-1237
 HARDEE'S FOOD                                                                                                                                                 $411,317.00
 SYSTEMS
 PO BOX 604020
 Charlotte, NC
 28260-4020
 HARDEE'S FOOD                                                                                                                                                   $50,646.00
 SYSTEMS INC
 PO BOX 841237
 DEPT 1237
 LOS ANGELES, CA
 90084-1237




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 Debtor    Summit Restaurant Holdings, LLC                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 K CURLISS                                                                                                                                                       $44,896.00
 TRUSTEE c/o EDITH
 MAE TRUST
 WELLSFARGO
 PO BOX 77200
 MINNEAPOLIS, MN
 55480
 KTA                                                                                                                                                           $115,500.00
 9401 E Kellogg
 Witchita, KS 67207
 MBM Corporation                                                                                                                                               $308,981.00
 PO Box 800
 Rocky Mount, NC
 27802
 MBM Corporation                                                                                                                                               $275,682.00
 PO BOX 800
 Rocky Mount, NC
 27802-0800
 MBM                                                                                                                                                             $73,057.00
 Corporation-BIG
 PO Box 800
 Rocky Mount, NC
 27802-0800
 MBM                                                                                                                                                           $317,280.00
 Corporation-HRT
 PO Box 800
 Rocky Mount, NC
 27802-0800
 Monitcello                                                                                                                                                      $39,458.00
 Ventures-Hardees
 LLC
 12 Meadowlark Ct
 Danville, CA 94526
 Palmer, LLC                                                                                                                                                     $43,763.00
 3848 Atlantic Ave
 Suite 4
 Long Beach, CA
 90807
 PURE PROPERTY                                                                                                                                                   $49,298.00
 MANAGEMENT
 390 W STANDLEY
 STREET
 UKIAH, CA 95482
 SVC ABS LLC                                                                                                                                                   $260,542.00

 Wade Properties.                                                                                                                                                $39,722.00
 LLC
 PO BOX 10
 TUCKASEGEE, NC
 28783




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           Name

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 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 WESTFIELD                                                                                                                                                       $75,666.00
 INSURANCE
 PO BOX 9001566
 LOUISVILLE, KY
 40290-1566
 WILLIAM P.                                                                                                                                                      $43,171.00
 ARNOLD
 5665 HARBOUR
 POINTE
 OAKWOOD, GA
 30566




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